                      IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF DELAWARE

UNITED STATES OF AMERICA,                   )
                                            )
                      Plaintiff,            )
                                            )
               V.                           ) Criminal Action No. 19-135-CFC
                                            )
NATHAN MATTHEWS,

                      Defendant.            I
                               SUPERSEDING INDICTMENT
                                                              ~~@&©u~@
       The Grand Jury for the District of Delaware charges that:

                                         COUNT ONE

       On or about September 26, 2019, in the District of Delaware, the defendant, NATHAN

MATTHEWS, knowing he had previously been convicted in the Superior Court of the State of

Delaware of a crime punishable by imprisonment for a term exceeding one year, did knowingly

possess in and affecting interstate commerce ammunition, that is, thirty-two (32) rounds of 9 mm

ammunition.

       In violation of 18 U.S.C. §§ 922(g)(l) & 924(a)(2).

                                        COUNT TWO

       On or about September 26, 2019, in the District of Delaware, the defendant, NATHAN

MATTHEWS did knowingly possess a machinegun as defined in 18 U.S.C. § 92l(a)(23), that is,

two (2) machinegun conversion devices with counterfeit "Glock" logos.

       In violation of 18 U.S.C. §§ 922(0) & 924(a)(2).            r



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                                        COUNT THREE

          On or about September 26, 2019, in the District of Delaware, the defendant, NATHAN

MATTHEWS did knowingly possess a firearm, a machine gun as defined in 26 U.S. C. § 5 845(b),

that is a machinegun conversion device with a counterfeit "Glock" logo, not registered to him in

the National Firearms Registration and Transfer record.

       In violation of26 U.S.C. §§ 5841, 586l(d), & 5871.

                                        COUNT FOUR

       On or about September 26, 2019, in the District of Delaware, the defendant, NATHAN

MATTHEWS did knowingly possess a firearm, amachinegun as defined in 26 U.S.C. § 5845(b),

that is a machinegun conversion device with a counterfeit "Glock" logo, not registered to him in

the National Firearms Registration and Transfer record.

       In violation of26 U.S.C. §§ 5841, 586l(d), & 5871.

                       NOTICE OF FORFEITURE FOR COUNT ONE

       Upon conviction of the offense alleged in Count One of this Indictment, the defendant,

NATHAN MATTHEWS, shall forfeit to the United States pursuant to 18 U.S. C. § 924(d) and 28

U.S.C. § 2461(c), ~l firearms and ammunition involved in the commission of the offense,

including, but not limited to: thirty-two (32) rounds of 9 mm ammunition, two (2) machinegun

conversion devices with counterfeit "Glock" logos, and one (1) 9 mm handgun with no serial

number.

                       NOTICE OF FORFEITURE FOR COUNT TWO

       Upon conviction of the offense alleged in Count Two of this Indictment, the defendant,

NATHAN MATTHEWS, shall forfeit to the United States pursuant to 18 U.S.C. § 924(d) and 28

U.S.C. § 246l(c), all firearms and ammunition involved in the commission of the offense,



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including, but not limited to: two (2) machinegun conversion devices with counterfeit "Glock"

logos.

              NOTICE OF FORFEITURE FOR COUNTS THREE AND FOUR

         Upon conviction of one or more of the offenses alleged in Counts Three and Four of this

Indictment, the defendant, NATHAN MATTHEWS, shall forfeit to the United States pursuant to

26 U.S.C. § 5872, all firearms involved in the commission of the offense, including, but not

limited to: two (2) machinegun conversion devices with counterfeit "Glock" logos.



                                                     A TRUE BILL:




                                                     Foreperson




DAVID C. WEISS
UNITED STATES ATTORNEY


By:      ~M,iA.A,;9!!~/
         Rth Mandelba
         Maureen McC:ey            ·     _
         Assistant United States Attorneys




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